                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                 3:17-CR-00055-RJC-DCK

 UNITED STATES OF AMERICA,                                 )
                                                           )
                          Plaintiff,                       )
                                                           )
     v.                                                    )                  ORDER
                                                           )
 JORDY MANUEL SANCHEZ-PEREZ (2)                            )
 BRYAN PERALTA (3)                                         )
                                                           )
                          Defendants.                      )
                                                           )


          THIS MATTER is before the Court on its own motion and the motion of BRYAN

PERALTA (Doc. No. 43), to continue this matter from the June 5, 2017 trial term in the

Charlotte Division.

          The Court finds, for the reasons stated in the defendant’s motion, that he has stated

sufficient cause for a continuance in this matter. The Court further finds that the ends of justice

served by taking such action outweigh the interests of the public and the defendants to a speedy

trial as set forth in 18 U.S.C. 3161(h)(7)(A).

          The Court further finds that the other defendant’s case is “joined for trial with a co-

defendant as to whom the time for trial has not run and no motion for severance has been

granted,” 18 U.S.C. 3161(h)(6), and that failure to continue this matter would result in a

miscarriage of justice. 18 U.S.C. 3161(h)(7)(B)(i). The Court further finds that the ends of

justice served by taking such action outweigh the best interest of the public and the defendants to

a speedy trial.




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       IT IS, THEREFORE, ORDERED, that this case as to all defendants who are pending

for trial is hereby continued to the August 7, 2017 trial term of Court in the Charlotte Division.

       IT IS FURTHER ORDERED that counsel will appear for a status conference on July

31, 2017 at 9:30 A.M in a courtroom to be designated in the Charles R. Jonas Federal Building.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the United

States Probation Office.


                                                     Signed: May 12, 2017




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